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Exhibit 13
Case 1:13-cv-01432-RA-KNF Document 131-13 Filed 12/29/15 Page 2 of 4

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Use this tag 3 for documents that are e either:

oo ' a . {1} not responsive to defendants’ requests for production, or:
Nonresponsive =. on (2) relate to a request for which @@has declined to produce documents. (See Chart of Plaintiff's
v Sat ‘Positions with respect to Document Requests}

Use this tag for documents responsive to defendants’ requests for production, limited by
objections, a“

 
   
 

 

 
 
 
     
  

Use this tag for documents that ices a to whether a an actionable (e.g. a)

Ca. USE SPARINGLY {i.e. 1% of documents reviewed}.
Use this tag for documents that are interesting or important to the case and yau feel should be
flagged for the group , such as documents that would be heipful in depositions or briefs (e.g.

   
  
      
 
   
 
   
  
 

: Interesting Doc

(i.e. 10% of docurnents reviewed).
Not Confidential Public documents, new reports, SEC filings, etc.

Not Privileged Any documents that are not subject to privilege .
i Privileged - Withhold Use this tag for documents that are responsive/relevant, but that are subject to either the a
' Sub-tags include: (a) “A/C” (attorney-client privilege}; (b) “W/P” attorney-client privilege ar work product privilege.

: (work product privilege); (c} deliberative process. ; ;
Use this tag for documents for which you-are struggling to make a production call; make all efforts
a; Reviewer Question/Follow-Up to discuss the document with a member of the Second Level Review Team prior to using this tag,

Use this tag for documents with technical issues that you are unable to resolve on your own (e.g,
echnical Issues : documents that are in an unreadable format or cannot be opened).

 

econd Level Review Complete - DO NOT USE —to be used by Second Level Review Team only.
ighly Confi dential - ~- Second Review Only DO NOT USE-to be used by Second Level Review Team only.

  

 

  
   

Privileged and Confidential. -Attomey,. ‘Work, Product.

     
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ZND Lew PLN IEW

Defendants’ Prioritized Documents
The following list contains the documents that Defendants wish to prioritize the production of, if
possible. This list provides some guidance on what documents Defendants will certainly find
responsive.

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